                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 Case No. 7:23-cv-897

IN RE:                                          )
                                                )
CAMP LEJEUNE WATER LITIGATION                   )
                                                )      COMMON BENEFIT ORDER NO. 1
This Order Relates To:                          )
ALL CASES                                       )


         Extraordinary commitment of time and resources will be needed to pursue actions arising

under the Camp Lejeune Justice Act (“CLJA”), which have been entrusted to this Court’s exclusive

jurisdiction. Accordingly, in its July 19, 2023 Case Management Order No. 1, the Court appointed

Plaintiffs’ Lead and Co-Lead Counsel (collectively, “Plaintiffs’ Leadership”) and established a

committee structure to undertake the necessary common benefit work. The Court now enters this

Order to provide for the fair and equitable sharing among plaintiffs and their counsel of the burden

of services performed and expenses incurred by attorneys acting for the Common Benefit of all

plaintiffs in this complex litigation.

I.       GOVERNING PRINCIPLES AND THE COMMON BENEFIT DOCTRINE

         The governing principles of this Order are derived from the United States Supreme Court’s

common benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527 (1881) and

refined in cases including Central Railroad & Banking Co. of Georgia v. Pettus, 113 U.S. 116

(1885) and Sprague v. Ticonic Nat’l Bank, 307 U.S. 161 (1939), which predated and were applied

independently of modern class actions and multidistrict litigation. See also Mills v. Electric Auto-

Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van Gemert, 444 U.S. 472 (1980). The development,

necessity, and jurisdictional authority for the application of this equitable doctrine to beneficiaries

of complex litigation in the federal district courts was comprehensively explored in In Re Air Crash



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Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006, 1019-21 (5th Cir. 1977),

which has guided the courts since. See also MANUAL FOR COMPLEX LITIGATION, § 14.215

(4th ed., Federal Judicial Center 2004) (noting that “[l]ead and liaison counsel may have been

appointed by the court to perform functions necessary for the management of the case but not

appropriately charged to their clients”); Newberg and Rubenstein on Class Actions § 15:24 (6th

ed. 2022) (“The common benefit fee is a mechanism for sharing the costs of that Common-Benefit

work among the plaintiffs’ lawyers in all of the individual cases. Specifically, the lawyers not

involved in undertaking common benefit work … are effectively taxed a portion of their attorney’s

fees, with the tax ultimately being distributed to the lawyers who undertook common benefit

work.”); In re Cook Med., Inc., Pelvic Repair Sys. Prod. Liab. Litig., 365 F. Supp. 3d 685, 694-95

(S.D.W. Va. 2019) (citing the same authorities and principles in granting common benefit fees).

       “A separate source of authority” for common benefit fees in complex litigation derives

from the Court’s “inherent ‘managerial power over the consolidated litigation.’” In re Cook Med.,

365 F. Supp. 3d at 695 (quoting In re Genetically Modified Rice Litig., No. 4:06 MD 1811 CDP,

2010 WL 716190, at *4 (E.D. Mo. Feb. 24, 2010)). Once cases are consolidated or coordinated in

one court “the court’s express and inherent powers enable the judge to exercise extensive

supervision and control [over the] litigation.” MANUAL FOR COMPLEX LITIGATION, § 10.1

(4th ed. 2004). See also In re C.R. Bard, Inc., Pelvic Repair Sys. Prod. Liab. Litig., MDL No.

2187, 2019 WL 4458579, at *8 (S.D.W. Va. Mar. 12, 2019), report and recommendation adopted,

MDL No. 2187, 2019 WL 3385174 (S.D.W. Va. July 25, 2019) (granting Common-Benefit fees

on these rationales); see also In re C.R. Bard, MDL No. 2187 Pre-Trial Order 54.

       A “third source for this court’s authority” is private agreement, usually in the form of a

“Participation Agreement.” In re Cook Med., 365 F. Supp. 3d at 695. Counsel can “enter[] into a




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participation agreement requiring contributions in exchange for access to common benefit work

product,” which is enforceable by the court. In re Bard IVC Filters Prod. Liab. Litig., No. 22-

15872, 2023 WL 5441793, at *2 (9th Cir. Aug. 24, 2023). Such agreements are enforceable even

where there is no other connection between the case and the court, id., and doubly so when there

is another connection. As courts have continued to invoke these powers and refine their case

management techniques over the decades, it has become “a customary practice in complex

litigation for the court to make an early determination as to how time and expenses for the common

benefit will be accounted for, if in fact a common benefit order is later granted.” In re Flint Water

Cases, 583 F. Supp. 3d 911, 922 (E.D. Mich. 2022).

       Common benefit work product includes all work performed for the benefit of all plaintiffs

generally, or of particular categories of plaintiffs, and extends from pre-trial matters and motions,

discovery, trial preparation, and trial, through the settlement process—including the negotiation,

implementation, and administration of comprehensive settlement programs—and all other work

that advances this litigation to conclusion. The Court notes at the outset that evaluating

contribution to the common benefit is a qualitative analysis because “not all types of work are

created equal.” In re Vioxx, 802 F. Supp. 2d 740, 772 (E.D. La. 2011) (quoting Turner v. Murphy

Oil USA, Inc., 582 F. Supp. 2d 797, 810-11 (E.D. La. 2008)). Some work, though less time-

consuming, has a greater impact on the litigation. For example, hours spent drafting critical briefs

or preparing for and taking depositions of key witnesses, trial work, and settlement negotiation,

generally provide greater common benefit than hours reviewing and coding documents. Thus, the

Court, when necessary, will review such common benefit fees and expenses with an eye toward

qualitative contribution, not merely hours spent.




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II.    APPLICABILITY

       This Order applies to all parties who come before the Court either in cases now pending,

or in cases later filed, as part of the proceeding known as In re Camp Lejeune Water Litigation.

This Order further applies to the following, collectively “Participating Counsel”: (1) all attorneys

appointed to various positions in Case Management Order No. 1, and all members of the Plaintiffs’

Executive Committee, Steering Committee, and subcommittees; (2) all attorneys with a fee interest

in any cases now pending or later filed as part of the proceeding known as In re Camp Lejeune

Water Litigation; and (3) all attorneys who consent to the Participation Agreement. An attorney

consents to the Participation Agreement either by (a) signing the agreement or (b) after the entry

of this Order, accepting or using the common benefit work product of this litigation, including the

use of or access to a database or settlement facility developed with Common Benefit work or funds.

       Participating Counsel are entitled to receive common benefit work product. Participating

Counsel are prohibited from sharing any such work product with counsel who are not Participating

Counsel. In return, Participating Counsel agree to the payment of the operative common benefit

“holdback” as further defined in this Order, as set by the Court, on all Covered Claims. A

“Covered Claim” is any claim or action pursuant to the Camp Lejeune Justice Act in which

Participating Counsel hold a fee interest; provided, however, that Covered Claims shall not include

(subject to further Orders of this Court as efforts toward comprehensive resolution continue) any

cases that are settled with the Department of the Navy pursuant to the terms of the Public Guidance

on Elective Option for Camp Lejeune Justice Act Claims as existing on September 15, 2023, see

D.E. 20-1. All Participating Counsel are bound by the terms, conditions, and obligations of this

Order, and any other and future common benefit-related Orders of this Court.




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III.   REGULAR REVIEW OF COMMON BENEFIT TIME AND EXPENSES BY THE
       ADMINISTRATIVE AND COMMON BENEFIT COMMITTEE

       The Court is aware of the disputes that can arise when claims are made for common benefit

fees and costs at the conclusion of a case such as this. The Court adopts the following procedures

to eliminate or, at the very least, minimize such disputes. Specifically, the Chair of the

Administrative and Common Benefit Committee or his designee(s) (the “Chair”), in consultation

with the Administrative and Common Benefit Committee, will have the primary responsibility for

management, oversight, and substantive review of matters related to and claimed to be common

benefit, subject to the oversight and approval of Plaintiffs’ Leadership.

       The purpose of the Chair’s substantive review is to have time and expenses accepted or

rejected as items potentially eligible for common benefit compensation and reimbursement as this

matter progresses, and not wait until nearly the end of the litigation for a substantive review by a

fee committee appointed by the Court. It is the Court’s intent to avoid, as much as possible, any

disputes over the classification of time and expenses as common benefit.

       A.      Procedures for submission and review of time and expenses:

               i.      By the 20th day of each month, counsel who seek to look to any common

                       benefit fund for remuneration shall submit their claimed common benefit

                       time and expenses incurred during the prior month in the manner set forth

                       in this Order and in accordance with any additional procedures implemented

                       by the Administrative and Common Benefit Committee.

               ii.     The Chair, in consultation with the Administrative and Common Benefit

                       Committee, shall have the discretion to choose an independent, third-party

                       vendor to perform an initial compliance review of common benefit time and

                       expense submissions.



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    iii.   At the direction and under the oversight of the Chair, a review of such time

           and expenses shall be conducted, on a monthly basis, to determine whether

           the time and expenses adhere to the requirements in this Order, whether they

           are eligible for common benefit consideration, and whether they are

           otherwise reasonable and necessary for the fair and efficient adjudication of

           this matter.

    iv.    Should the Chair discover any matter requiring further clarification,

           attention, or information in order to determine whether it adheres to the

           above requirements, the Chair shall confer with the counsel who submitted

           the report, for the purpose of obtaining the necessary information to make

           the above determination. Any issues that require the deliberation and

           decision of the entire Administrative and Common Benefit Committee or of

           Plaintiffs’ Leadership, shall be brought to their attention by the Chair.

    v.     If any counsel, including an Eligible Participating Counsel (as defined in

           section IV.A. below), disagrees with a decision allowing or disallowing his

           or her common benefit time or expense, such counsel may submit the matter

           to Plaintiffs’ Leadership for consideration and a final decision regarding the

           matter. A majority vote of Plaintiffs’ Leadership shall constitute the final

           decision on any such submitted matters.

    vi.    If no disagreement with a disallowance of any common benefit time or

           expenses is submitted by counsel to the Chair within 30 days after such

           disallowance, it shall be final, and no Eligible Participating Counsel or non-




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                       Participating Counsel shall have the right to modify or seek modifications

                       of such decision at a later time.

               vii.    The Administrative and Common Benefit Committee shall report on a

                       monthly basis to Plaintiffs’ Leadership on common benefit time and

                       expense submissions; and shall report such information, through Liaison

                       Counsel, to the Court in camera, on a regular basis, or at any time upon the

                       Court’s request, with such level of detail as it may request.

               viii.   This process of submission and substantive review is subject to

                       modification by the Court.

               ix.     The Court retains the sole authority to issue final rulings on all decisions

                       regarding common benefit attorneys’ fees and expenses. As to any common

                       benefit time or expense approved under the terms of this Order, only the

                       Court is authorized, at the appropriate time, to determine whether such time

                       and expenses have been appropriately expended for the common benefit,

                       and whether and in what amount to compensate or reimburse them.

IV.    COMMON BENEFIT WORK

       A.      ELIGIBLE PARTICIPATING COUNSEL

       “Eligible Participating Counsel” are the counsel on Plaintiffs’ Steering Committee,

Plaintiffs’ Executive Committee, Plaintiffs’ Leadership and Plaintiffs’ Liaison Counsel (along

with members of their respective firms and staff) who perform common benefit work and incur

common benefit expenses that have been authorized by Plaintiffs’ Leadership and timely reported

pursuant to the provisions of this Order.




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       B.      AUTHORIZATION FOR COMPENSABLE COMMON BENEFIT WORK

       Authorized common benefit work is limited to common benefit work undertaken at the

direction, or with the permission, of Plaintiffs’ Leadership pursuant to Case Management Order

No. 1. Unless it is specifically and explicitly authorized in writing, no time spent on developing or

processing individual issues in any case for an individual plaintiff or claimant will be considered

or should be submitted as common benefit work, nor will time spent on any unauthorized work be

compensable. Plaintiffs’ Leadership may design internal procedures to streamline and expedite

their authorization process, so long as they regularly monitor and review assignments in their

meetings to promote efficiency and minimize duplication of effort.

       The following guidelines regarding the submission and compensability of common benefit

time and expenses are adopted for the management of timekeeping, cost reimbursement, and

related common benefit issues. These guidelines will be presumptively applied by the Court in

considering and approving the award of common benefit attorneys’ fees and expenses.

       The failure to secure authority from Plaintiffs’ Leadership to perform common benefit

work and incur common benefit expenses, to maintain and timely provide records, or to provide a

sufficient description of the activity will be grounds for denying compensation for those attorneys’

fees or expenses in whole or in part.

       C.      TYPES OF COMMON BENEFIT WORK

       Examples of authorized1 and unauthorized common benefit work include, but are not

limited to:

               i.      Depositions. Time and expenses from Eligible Participating Counsel who

                       are designated as authorized questioners, authorized to prepare or assist in



1 See Authorized Coding Tasks, attached hereto as Exhibit A.



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           preparation for, or otherwise authorized to attend the deposition by Lead

           Counsel may be considered common benefit work.

    ii.    Periodic Conference Calls and Zoom Conferences. These virtual

           meetings may be held so that individual attorneys are kept up to date on the

           status of the litigation, and simply attending them is not common benefit

           work. All attorneys have an obligation to keep themselves informed about

           the litigation so that they can best represent their clients, and that is a reason

           to listen in on those calls. The attorneys designated by Plaintiffs’ Leadership

           to run or participate in those calls to provide information or reports, or to

           conduct the business of their committees, are working for the common

           benefit by keeping other lawyers informed and educated about the case, and

           their time may be considered common benefit work.

    iii.   Periodic Status Conferences. The Court sets and conducts status

           conferences to manage the litigation so that it continues to move forward

           efficiently, and to adjudicate legal, procedural, and scheduling matters as

           these arise. Individual attorneys are free to attend any status conference held

           in open court in order to keep up to date on the status of the litigation, but

           simply attending and listening to such conferences, or reviewing the

           transcripts, is not common benefit work. All attorneys have an obligation to

           keep themselves informed about the litigation so that they can best represent

           their clients. Plaintiffs’ Leadership or their designees, as well as any other

           attorney whose attendance at a status conference is specifically requested

           by the Court, may submit their time for evaluation as common benefit time.




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     iv.     PEC and PSC Meetings or Calls. For purposes of Plaintiffs’ Executive

             Committee (PEC) and Plaintiffs’ Steering Committee (PSC) phone calls,

             Zoom conferences, or other meetings, a presumption exists that only one

             participant per firm will qualify for common benefit time, unless a

             committee contains more than one attorney otherwise authorized by

             Plaintiffs’ Leadership.

     v.      PEC and PSC Subcommittee Meetings or Calls. For purposes of PEC

             and PSC Subcommittee phone calls, Zoom conferences, or other meetings,

             a presumption exists that only one participant per firm will qualify for

             common benefit time, unless a committee contains more than one attorney

             otherwise authorized by Plaintiffs’ Leadership.

     vi.     Identification and Work-Up of Experts. Participating Counsel are

             expected to identify experts at the direction, or with the permission, of

             Plaintiffs’ Leadership, after the date of Case Management Order No. 1. If a

             Participating Counsel incurs time or expense relating to an expert without

             permission or approval, such time and expense would not be eligible as

             common benefit.

     vii.    Attendance at Seminars. Mere attendance at a seminar does not qualify as

             common benefit work unless the individual is attending at the direction, or

             with the permission, of Plaintiffs’ Leadership for the common benefit and

             the attendance is authorized in advance.

     viii.   Document and ESI Review and Analysis. Only review and analysis of

             documents, including electronically stored information (“ESI”), that is




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           undertaken by a designated attorney at the direction, or with the permission,

           of Plaintiffs’ Leadership will be considered common benefit work. The

           review done by a designated attorney’s office may be performed by

           appropriately trained individuals selected by the attorney. The review of

           documents beyond the scope of the assignment is not considered common

           benefit work. Plaintiffs’ Leadership will receive periodic reports from the

           vendor(s) retained to manage the document review database of computer

           billing time for document review. Such vendor should have the capability

           to track actual time spent by each reviewer. Plaintiffs’ Leadership will

           periodically review time submissions related to document review, and

           document review that is duplicative of what has already been assigned may

           not be compensated.

     ix.   Contract Attorneys. Work by attorneys who are hired as contract attorneys

           will not be eligible for common benefit consideration without the prior

           express written authorization of Plaintiffs’ Leadership.

     x.    Review of Pleadings, Briefs, and Orders. All attorneys have an obligation

           to keep themselves informed about the litigation so that they can best

           represent their clients, and review of pleadings and orders is part of that

           obligation. Orders and important pleadings and other key public

           information are posted, for the benefit of claimants, counsel, and the public,

           on    the    website    maintained     by     Plaintiffs’   Leadership     at:

           https://camplejeunecourtinfo.com. Time spent by counsel reviewing or

           summarizing pleadings, briefs, or Orders in furtherance of authorized




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            assignments from Plaintiffs’ Leadership will be considered for common

            benefit. All other counsel reviewing those documents are doing so for their

            own benefit and the benefit of their own clients, and this review time is not

            considered common benefit. Nothing in this paragraph should be construed

            to prevent Plaintiffs’ Leadership, Liaison Counsel, the PEC, or PSC from

            submitting common benefit time for reviewing Orders and pleadings that

            are germane to all members of the leadership and are necessary for review

            to fulfill their committee or Court-appointed obligations.

     xi.    Emails. All attorneys have an obligation to keep themselves informed about

            the litigation so that they can best represent their clients, and review of

            group or mass emails is part of that obligation. Time spent reviewing emails

            and providing non-substantive responses generally is not compensable,

            unless germane to a specific task being performed by the receiving or

            sending attorney that is related directly to that email. For example, review

            by a recipient of an email sent to dozens of attorneys to keep them informed

            on a matter on which they are not specifically working would not be

            compensable. If time submissions are heavy on email review with little

            related substantive work, that time may be heavily discounted or not

            compensated at all.

     xii.   Review of Discovery Responses. All attorneys have an obligation to keep

            themselves informed about the litigation so that they can best represent their

            clients, and that is a reason to review discovery responses served in this

            litigation. The time of attorneys designated by Plaintiff’ Leadership to




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             review and summarize those discovery responses will be considered for

             common benefit. All other counsel reviewing those discovery responses are

             doing so for their own benefit and the benefit of their own clients, and the

             review is not considered common benefit.

     xiii.   Trial and Discovery Pool. While the work-up of individual cases is not

             considered common benefit, in the event that a case is selected as part of an

             approved early preference or early track trial pool, the work performed on

             the case, including pre-trial motions and trial, as part of the approved trial

             process may be considered for common benefit, to the extent it complies

             with other provisions of this Order. Work performed on an individual case

             prior to that case’s selection as part of an approved trial pool will not be

             common benefit work.

     xiv.    Leadership and Committee Work. The work of each of the Committees

             described in and established by Case Management Order No. 1 is common

             benefit work to the extent that it otherwise complies with the requirements

             of this Order and all other Case Management Orders entered by the Court.

     xv.     Paralegal Work. Work performed by paralegals will be subject to all the

             same procedures and requirements set forth in this Order as that performed

             by attorneys.

     xvi.    Client Recruitment. Time spent traveling to, hosting, or participating in

             meetings, calls, etc. for the purpose of marketing, client recruitment, or

             client acquisition is not eligible common benefit time.




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V.      COST CONTRIBUTIONS AND SUBMISSION OF TIME AND EXPENSE
        RECORDS

        A.      CONTRIBUTIONS TO THE COMMON BENEFIT EXPENSE FUND

        Appointments of counsel to Plaintiffs’ Leadership, to Liaison Counsel, to PEC, and PSC

positions, and counsels’ service on the Committees and subcommittees established or authorized

by Case Management Order No. 1 all come with serious responsibilities to the Court, to the

plaintiffs, and to fair and efficient case management. One of these responsibilities is financial: the

above-described counsel are creating time and cost savings and economies of scale, and reducing

duplication of time, effort, and expense, for all plaintiffs, by advancing the costs of litigation on

matters affecting or benefitting plaintiffs as a whole. The Chair and Co-Chairs of the

Administrative and Common Benefit Committee shall establish and propose to Plaintiffs’

Leadership for approval a system for cost contributions, sometimes called front-end assessments,

to be paid in determined amounts on a determined schedule by the above-described counsel. These

payments shall be deposited into an interest-bearing Common Benefit Expense Fund (“Expense

Fund”), which the Chair shall establish at a responsible financial institution situated in this District.

The Chair shall monitor payments and approve common benefit Shared Expenses (as defined

below) and disbursements in accord with this Order. The Chair along with Liaison Counsel shall

report in camera to the Court with respect to assessments deposited into and expenses paid from

the Expense Fund, at the Court’s request.

        The Court recognizes that Plaintiffs’ Leadership may also find it necessary to make such

front-end assessments on Eligible Participating Counsel to fund common benefit activity in this

litigation and authorizes it to do so.

        Once the Chair provides notice of an assessment, the assessed counsel will have thirty (30)

days to deposit their respective assessments into the Expense Fund. Any common benefit work



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performed by the assessed counsel’s firm while the assessed counsel is in arrears may not be

eligible for submission or consideration. Failure by any assessed counsel to deposit assessments

on a timely basis will also be a consideration during the Court’s leadership reappointment process.

       B.        COMMON BENEFIT TIME AND EXPENSE SUBMISSION GUIDELINES

       All counsel who seek to recover Court-awarded common benefit attorneys’ fees and

expenses in connection with this litigation shall keep a daily, contemporaneous record of their time

and expenses, noting with specificity the amount of time in tenth of an hour (0.10) increments,

location (if relevant), and particular activity, along with a brief note indicating authorization for

the activity in question.

       Each firm submitting common benefit time and expense reports must include such reports

for each lawyer and staff member engaged in common benefit work for this litigation. Report

periods close on the last day of each month, and records for time worked and/or expenses incurred

during that period must be submitted by the 20th day of the following month. For example, all

time and expense entries for common benefit work performed in November would be due no later

than December 20th.

       The first reporting period will cover time spent or expenses actually incurred from July 19,

2023 through the end of the month in which this order is entered and such report will be due within

30 days thereafter. The Court understands that Common Benefit work may have been done prior

to July 2023 and, thus, time spent or expenses incurred prior to July 19, 2023 may be considered

by the Court as recoverable on a case-by-case basis at a later time.

       Absent good cause, failure to submit time and expense reports in a timely manner may

preclude further common benefit work and/or exclude the delinquent months’ time from

consideration.




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       Common benefit time and expense reports must be submitted according to procedures

established by the Administrative and Common Benefit Committee. No other form of submission

for time and expenses will be accepted. All time and expense reports must be accompanied by a

certification that the time and/or expenses are true, accurate, authorized by Plaintiffs’ Leadership,

and otherwise compliant with this Court’s Orders. Submission of excessive, unreasonable, or

unnecessary common benefit time and expense entries, as well as the failure to secure authority to

perform common benefit work and incur expenses, to maintain and timely provide time and

expense records, or to provide a sufficient description of the activity will be grounds for denying

the recovery of attorneys’ fees or reimbursement of expenses.

       C.      TIME

               i.      All time must be authorized by Plaintiffs’ Leadership.

               ii.     Counsel shall keep contemporaneous daily records of their time spent in

                       connection with authorized common benefit work on this litigation, using

                       the approved forms to be circulated by the Administrative and Common

                       Benefit Committee, clearly indicating with specificity the hours, location,

                       particular activity, the source of authorization for the activity and indicating

                       their position in the firm (Partner, Associate or Paralegal).

               iii.    Time entries that are not sufficiently detailed will not be considered for

                       common benefit payment.

               iv.     All time submitted for each firm shall be maintained in a one-tenth (0.10)

                       hour increments.

               v.      By submitting time, each submitter is attesting to the accuracy of the

                       submissions.




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       D.     EXPENSES

       In order to be considered for reimbursement, common benefit expenses must meet the

requirements of this section. Specifically, said expenses must be (a) for the common benefit, (b)

appropriately authorized by Plaintiffs’ Leadership, (c) timely submitted, and (d) appropriately

documented or verified. Expenses will be deemed as either “Shared” or “Held.”

              i.      Shared Expenses are costs incurred for the Common Benefit as a whole. No

                      client-related costs can be considered as Shared Expenses. All costs that

                      meet these requirements and fall under the following categories shall be

                      considered Shared Expenses and qualify to be submitted to and paid directly

                      from the Fund. All Shared Expenses must be approved by Plaintiffs’

                      Leadership prior to payment. Shared Expenses include, but are not limited

                      to:

                      1.     Costs for the electronic storage, retrieval, and searches of ESI;

                      2.     Deposition and court reporter costs;

                      3.     Document Depository: creation, operation, staffing, equipment, and

                             administration;

                      4.     Expert witness and consultant fees and expenses;

                      5.     Printing, copying, coding, and scanning (out-of-house or

                             extraordinary firm cost);

                      6.     Plaintiffs’ Leadership/PEC/PSC group administration matters, such

                             as meetings, food, and conference calls;

                      7.     Services by outside third-party vendors, consultants, attorneys,

                             and/or accountants;

                      8.     Common witness expenses, including travel for the witness;


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           9.     Translation costs;

           10.    Bank or financial institution charges;

           11.    Third-party investigative services; and

           12.    Other Shared Expenses that arise, but are not enumerated above, and

                  are deemed Shared Expenses by Plaintiffs’ Leadership.

     ii.   Held Expenses are those that do not fall into the above Shared Expenses

           categories and are not payable out of the Fund, but are incurred for the

           common benefit in connection with work authorized by Plaintiffs’

           Leadership. No specific client-related costs can be considered as Held

           Expenses. Held Expense records shall be submitted on a monthly basis and

           are subject to Court approval and award in connection with its common

           benefit awards determinations. All costs that meet these requirements and

           fall under the following categories shall be considered Held Expenses and

           qualify for consideration for future reimbursement:

           1.     Telefax, conference call, and Zoom or other virtual meeting charges;

           2.     Postage, shipping, courier, and certified mail;

           3.     Printing and photocopying (in-house);

           4.     Computerized research, such as with Lexis/Westlaw;

           5.     Approved Attorney travel (subject to the travel expense guidelines

                  set forth below) for depositions, expert and consulting witness

                  meetings, Plaintiffs’ Leadership meetings, court matters, and other

                  Common Benefit work including:

                  a.     Airfare;




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                    b.      Reasonable ground transportation (car rental, cabs, etc.);

                    c.      Hotel;

                    d.      Reasonable meals and entertainment; and

                    e.      Other reasonable expenses, such as parking.

E.   EXPENSE LIMITATIONS

     i.     Airfare: Only the available coach airfare at the time of booking, or fares

            consistent with the Administrative Office of the U.S. Courts’ published

            Judicial Staff Travel Regulations, for a reasonable itinerary will be

            reimbursed. If alternative air travel is utilized, only the value of a

            comparable coach airfare at the time of booking for a reasonable itinerary

            will be reimbursed.

     ii.    Hotel: Hotel room charges will be reimbursed up to the greater of (a) $300

            per night excluding taxes, or (b) the available room rate of the Hyatt, Hilton,

            or Marriott hotels in that city.

     iii.   Meals: Meal expenses must be reasonable.

     iv.    Cash Expenses: Miscellaneous cash expenses for which receipts generally

            are not available (gratuities, luggage handling, pay telephone, etc.) will be

            reimbursed up to $50.00 per trip if the expenses are properly itemized.

     v.     Automobiles for Hire: Automobile for Hire fares or charges will be

            reimbursable, if reasonable.

     vi.    Mileage: Mileage claims must be documented by stating origination point,

            destination, total actual miles for each trip, and the rate per mile paid by the

            attorney's firm. The maximum allowable rate will be the maximum rate

            allowed by the IRS (the 2023 rate is 65.5 cents per mile).


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       F.      NON-TRAVEL LIMITATIONS

               i.     Shipping, Courier, and Delivery Charges: All claimed expenses must be

                      documented with bills showing the sender of the package, recipient, and

                      destination of the package.

               ii.    Postage Charges: A contemporaneous postage log or other supporting

                      documentation must be maintained and submitted. Postage charges are to

                      be reported at actual cost.

               iii.   In-House Photocopy: A contemporaneous photocopy log or other

                      supporting documentation must be maintained and submitted. The

                      maximum copy charge is 15 cents per page.

               iv.    Computerized Research: Expenses for computerized legal research, such

                      as with Lexis/Westlaw, should be in the exact amount charged to the firm

                      for these research services.

       G.      GENERAL PROVISIONS

       The submissions detailing expenses shall be certified by a partner in each firm attesting to

the accuracy of the submissions. (See Exhibit A). Attorneys shall keep receipts for all expenses.

Credit card receipts (not the monthly statements) are an appropriate form of verification so long

as accompanied by a declaration from counsel that work was performed and paid for the common

benefit. Hotel costs must be proven with full hotel invoice. The description of unclaimed expenses

on the invoice may be redacted.

VI.    VOLUNTARY PARTICIPATION AGREEMENT

       Attached hereto as Exhibit B and incorporated herein is a voluntary “Attorney Participation

Agreement” between Plaintiffs’ Leadership and other plaintiffs’ attorneys. The Attorney

Participation Agreement is a private and cooperative agreement between plaintiffs’ attorneys only.


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       No access to or use of common benefit work product is authorized for attorneys who do

not consent to the Attorney Participation Agreement. Any attorneys who access or use common

benefit work product, including the use of or access to a database or settlement facility developed

with common benefit work or funds, will be deemed to have consented to the Attorney

Participation Agreement. The Court will have final authority regarding the award of fees, the

allocation of those fees, and awards for cost reimbursements in this matter. Participating Counsel

will be bound by the Court’s determination on common benefit attorney fee and expense awards.

All counsel who consent to the Attorney Participation Agreement knowingly and expressly waive

any right to appeal those decisions and expressly waive the right to assert the lack of enforceability

of this Order or to otherwise challenge it.

VII.   ESTABLISHMENT OF THE COMMON BENEFIT HOLDBACK FUND AND
       DUTIES OF ADMINISTRATOR THEREOF

       The Court hereby authorizes the establishment of the Camp Lejeune Common Benefit

Holdback Fund (“Holdback Fund”) pursuant to the limitations set forth in this Order.

       A.      APPOINTMENT OF THE HOLDBACK ADMINISTRATOR

       The Court will appoint an Administrator of the Camp Lejeune Water Holdback Fund

(“Holdback Administrator”) and, at the appropriate time, direct the Holdback Administrator to

establish an insured, interest-bearing account to receive and disburse the portion of funds that are

held back under the common benefit assessment as provided in this Order. The Court directs the

Chair of the Administrative and Common Benefit Committee to submit a recommendation for an

individual to serve as Holdback Administrator within 10 days from the date of this Order. The

Holdback Administrator shall designate an escrow agent (the “Escrow Agent”).

       The Holdback Administrator shall consider, in designating the Escrow Agent and in

procuring other professional services, the charges that the Escrow Agent or provider of



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professional services will impose for its actions and the ability of the Escrow Agent or provider of

professional services to undertake the tasks called for with efficiency and responsiveness.

       The Escrow Agent shall not acquire or hold for longer than 90 days any debt securities,

certificates, or investments unless such instruments are a U.S. Treasury Bill, U.S. Treasury Money

Market, U.S. Government Money Market, or similar type of account guaranteed by the United

States or an agency thereof, including an FDIC-Insured Account. The U.S. Treasury Money

Market or U.S. Government Money Market must be registered under the Investment Company Act

of 1940, as amended, and have the highest rating obtained from either Moody’s or S&P. In

determining investments to be held by the Escrow Agent, primary regard shall be given by the

Escrow Agent to safety of principal.

       In connection with their services, the Holdback Administrator and the Escrow Agent shall

be entitled to be paid reasonable fees and to be reimbursed for reasonable expenses, when and as

approved by this Court, based upon statements that they shall periodically submit to the Court,

with copies to Plaintiffs’ Leadership. If funds for reimbursement are not then available in the Fund,

they shall be paid by Plaintiffs’ Leadership, which shall be reimbursed out of the Holdback Fund

when and if it ever is funded.

       All funds deposited into the Holdback Fund shall be held subject to the direction of the

Court. No party or attorney has any individual right to any of the Holdback Fund, except to the

extent of amounts directed to be disbursed to such person by Order of the Court. The Holdback

Fund shall not constitute the separate property of any party or attorney nor be subject to

garnishment or attachment for the debts of any party or attorney, except when and as directed to

be disbursed as provided by Order of the Court to a specific person.

       In connection with his duties, the Holdback Administrator shall:




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                i.     Have all such power and authority over the Holdback Fund as necessary or

                       convenient to exercise the authority granted herein;

                ii.    Keep and report periodically to this Court an accounting of the funds

                       received, maintained, and disbursed relating to the Holdback Fund;

                iii.   Make decisions and take action with respect to treatment of the Holdback

                       Fund for purposes of compliance with the Internal Revenue Code and any

                       applicable local or state tax codes, including creating reports, maintaining,

                       and reporting relating to the Holdback Fund and its income, if any, derived

                       therefrom;

                iv.    Out of the assets of the Holdback Fund, purchase and maintain reasonable

                       amounts and types of insurance for errors and omissions or fidelity bonds;

                v.     Procure, upon consultation with the Administrative and Common Benefit

                       Committee, professional accounting, legal, and other services for the

                       purposes of carrying out the tasks described in this Order, and to be

                       reimbursed for the expenses of such services; and

                vi.    Adopt and implement reasonable procedures consistent with this Order.

         B.     REQUIREMENTS OF THE ESCROW AGENT

         The Escrow Agent shall be a commercial bank that: (1) has deposits insured by the Federal

Deposit Insurance Corporation; (2) is organized under the laws of the United States or any state

thereof; (3) maintains an office or agent in this District; and (4) has a total risk-based capital in

excess of five billion dollars ($5,000,000,000.00) and meets the minimum risk-based ratios

established under the Federal Deposit Insurance Corporation Improvement Act of 1991. The

Escrow Agent may act as paying agent, depository, custodian, or trustee with respect to funds it

holds.


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VIII. COMMON BENEFIT ASSESSMENT/HOLDBACK

       Given the ongoing and substantial commitment of time and resources by Plaintiffs’

Leadership, Liaison Counsel, PEC, PSC, and Eligible Participating Counsel in this litigation, it is

the intention of this Order to create a fund and process to reimburse these counsel for the time and

expense of prosecuting these cases for the benefit of all plaintiffs, and to compensate and reimburse

them for approved common benefit time and expenses, in the exercise of its judicial discretion and

authority over counsel practicing before the Court, informed by the record-keeping and reporting

process set forth in this Order. The Court recognizes that these counsel will be advancing

substantial funds to finance the expenses of the litigation, briefing and presenting common legal

and factual issues, hiring expert witnesses, conducting discovery, selecting, preparing for, and

conducting bellwether and/or common question trials, and pursuing resolution for the benefit of

all plaintiffs and claimants in this matter. The Court observes that this common benefit work

relieves a substantial part of the burden that would otherwise fall upon individual lawyers, will

create significant economies and efficiencies for the litigants and the Court, and that a reasonable

holdback from successfully resolved Covered Claims is appropriate to fund such an account.

       Courts have imposed a range of percentage assessments on plaintiffs’ recoveries in

settlements and judgments in complex litigation, usually paid from the lawyers’ portion of these

recoveries. Authoritative commentators who have studied and surveyed these awards in historical

and recent cases report a range of common benefit assessments from less than 2% to more than

10%, including a few as high as 12.5% and above. Newberg and Rubenstein on Class Actions,

“Common Benefit Fees”, §§ 15:113-118 (6th ed. 2022). Assessments are set in some cases at the

beginning of the litigation, and later amended as the litigation progresses; in other cases, the courts

wait for the litigation to develop before setting an appropriate assessment. Either way, assessments




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are always subject to amendment, to avoid both windfalls to, and the shortchanging of, the common

benefit counsel. Id.

        Therefore, recognizing there is no “right” number to apply at the outset, but that litigants

benefit from some predictability, this Order establishes an initial common benefit assessment, or

“Holdback,” of 3% on any resolution of “Covered Claims” reached after the date of this Order.

This percentage is subject to adjustment by the Court, on due notice, if the evolving circumstances

of the litigation so require.

        The Holdback shall be deducted by the Defendant and paid to the Escrow Agent in the

amount of three percent (3%) of the Gross Monetary Recovery, explained below. The Holdback

shall not be deducted, by anyone, from the portion of any recovery that any individual plaintiff is

entitled to under the plaintiff’s retention agreement; rather, the Holdback will be deducted from

the amount charged by the individual plaintiff’s attorney, which shall in turn be governed by the

retention agreement between each attorney and his or her clients. In the Court’s view, this will

maximize the recovery to the plaintiff and fairly recognize the work and risk that both common

benefit and individual plaintiffs’ attorney provided.

        The Holdback will be calculated on the “Gross Monetary Recovery” on all Covered

Claims. A “Gross Monetary Recovery” occurs when a claimant or plaintiff accepts monetary

consideration to settle, compromise, dismiss, or reduce the amount of a claim or, with or without

trial, recovers a judgment for monetary damages or other monetary relief, such as a judgment for,

or consideration for the release of, compensatory damages under the CLJA.

        A.      GROSS MONETARY RECOVERY HOLDBACK

        This Court’s Holdback shall be reserved for Court-awarded common benefit attorneys’

fees and expenses and applies to any “Gross Monetary Recovery” on all “Covered Claims” paid

by, or on behalf of, the United States of America (“Defendant”). Defendant is, therefore, directed


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to withhold this amount from any and all amounts paid to any claimant or plaintiff and their counsel

and to pay the Holdback directly into the Holdback Fund.

        This Court’s Holdback applies to all sums to be paid in settlement of the claim or action,

including the present value of any fixed and certain payments to be made in the future. It does not

apply to court costs that are to be paid by Defendant or “offsets”, including payments made directly

by Defendant on a formal intervention asserted directly against Defendant by third parties, such as

physicians, hospitals, and other health care providers on Court-recognized, valid subrogation

claims related to treatment of the claimant or plaintiff.

        Dismissal of any Covered Claim shall be accompanied by a certification by the plaintiff’s

and Defendant’s counsel that the Holdback has been withheld and deposited into the Holdback

Fund.

        B.     POTENTIAL FEE AND EXPENSE ALLOCATION

        At the appropriate time, and in the manner to be prescribed by the Court, Plaintiffs’

Leadership, in consultation with the Administrative and Common Benefit Committee, will be

responsible for making, by duly noticed motion, any petition for the award of common benefit fees

or expenses, as well as making a recommendation to the Court as to the allocation of such fees and

expenses if awarded. Only counsel who comply with the requirements and procedures of this Order

with respect to applicable authorization, record-keeping, and reporting of their common benefit

time and expenses shall be entitled to be included in any such application. In apportioning any

common benefit award, appropriate consideration will be given to the experience, talent, and

contribution made by counsel, and to the time and effort expended by counsel as well as to the

type, necessity, quality, and value of the legal services rendered. The Administrative and Common

Benefit Committee can petition the Court for appointment of a Special Master for purposes of

preparing a qualitative analysis in making a recommendation to the Court.


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       This Order establishes the requirements, procedures, and guidelines for the submission and

compensability of common benefit time and expenses. Counsel will only be eligible to receive

common benefit attorneys’ fees and cost reimbursements if the time expended, costs incurred, and

activity in question were: (a) for the common benefit, as opposed to work the attorney performed

for his or her own clients, (b) appropriately authorized, and (c) timely and properly submitted.

       Compliance with this Order is required for common benefit time and costs to be eligible

for compensation but does not create a presumption, even if initially approved by the Chair of the

Administrative and Common Benefit Committee or Plaintiffs’ Leadership, that such time and

expenses will be compensated or reimbursed. The final determination of any common benefit fee

award and reimbursement of expenses will be made by the Court.

       C.       RETURN OF EXCESS OR UNAWARDED ASSESSMENTS FROM
                HOLDBACK FUND

       If the Holdback Fund exceeds the amount needed to make payments as provided in this

Order, the Court will order the Chair of the Administrative and Common Benefit Committee to

refund any such surplusage to those who were subject to the Holdback, in proportion to the amount

that was withheld.

IT IS SO ORDERED, this _____ day of _______________________, 2023.




 RICHARD E. MYERS II                              TERRENCE W. BOYLE
 Chief United States District Judge               United States District Judge




 LOUISE W. FLANAGAN                               JAMES C. DEVER III
 United States District Judge                     United States District Judge




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